                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION




 In re RealPage, Inc. Rental Software Antitrust Case No. 3:23-md-03071
 Litigation                                     MDL No. 3071

                                                  Judge Waverly D. Crenshaw, Jr.

                                                  This Document Relates to:

                                                  3:23-cv-00332
                                                  3:23-cv-00357
                                                  3:23-cv-00979




   DEFENDANT EQUITY RESIDENTIAL’S UNOPPOSED MOTION TO EXCUSE
   THE APPEARANCE OF CARL W. HITTINGER AT THE SEPTEMBER 13, 2024
                       STATUS CONFERENCE

       Defendant Equity Residential (“Equity”) respectfully moves for leave to excuse its

 counsel, Carl W. Hittinger, from appearing at the September 13, 2024 conference.

       On that date, Mr. Hittinger will be on a pre-paid family vacation which he is unable to

 reschedule. Should the status conference go forward, Alyse F. Stach, Mr. Hittinger’s partner at

 Baker & Hostetler LLP and counsel of record in this matter, is available to appear in person in

 his stead. In addition, Mr. Hittinger may be available to participate in the status conference by

 telephone.

       Equity has conferred with Plaintiffs, who have indicated that they do not oppose this

Motion.




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                                          /s/ Carl W. Hittinger
Dated: September 4, 2024                  Carl W. Hittinger
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on September 4, 2024, a copy of the foregoing document was

electronically filed with the Clerk of Court using the CM/ECF system, which will automatically

send notification of such filing to all counsel of record.



                                                       /s/ Carl W. Hittinger
                                                       Carl W. Hittinger

                                                       Counsel for Defendant Equity Residential




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